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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §            Case No: 2:15-cv-01877-JRG-RSP
                                     §
 vs.                                 §            LEAD CASE
                                     §
 AMERICAN HONDA MOTOR CO.,           §
 INC.                                §
                                     §
       Defendant.                    §
 ___________________________________ §
 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §            Case No: 2:15-cv-01573-JRG-RSP
                                     §
 vs.                                 §            CONSOLIDATED CASE
                                     §
 SMARTLABS, INC. d/b/a INSTEON       §
                                     §
       Defendant.                    §
.___________________________________ §


                     ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this date, the Court considered Plaintiff Rothschild Connected Devices Innovations,

LLC’s motion to dismiss without prejudice Defendant Smartlabs, Inc. d/b/a Insteon pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii).

       Therefore, IT IS ORDERED that Plaintiff’s claims against Defendants are dismissed

without prejudice.

SO ORDERED
      SIGNED this 3rd day of January, 2012.
        SIGNED this 10th day of June, 2016.




                                                 ____________________________________
                                                 ROY S. PAYNE
                                                 UNITED STATES MAGISTRATE JUDGE
